          Case 3:12-cr-00236-JO               Document 1993             Filed 07/15/16          PageID.17842        Page 1 of
                                                                       2
"   AO 245B (CASDRev. 08/13) Judgment in a Criminal Case for Revocations


                                        UNITED STATES DISTRICT COURT
                                              SOUTHERN DISTRICT OF CALIFORNIA

                 UNITED STATES OF AMERICA                                JUDGMENT IN A CRIMINAL CASE
                                                                         (For Revocation of Probation or Supervised Release)
                                                                         (For Offenses Committed On or After November I, 1987)
                                   V.
              GUSTAVO ALFREDO BARRON (23)
                also known as: Gustavo Barron                               Case Number:        12CR0236-H
                        also known as: "Force"
                                                                         Amy F. Kimpel, Federal Defenders of San Diego, Inc.
                                                                         Defendant's Attorney
    REGISTRATION NO.               31145-298
    o
    ~    admitted guilt to violation ofallegation(s) No.        1.

    o was found guilty in violation of allegation(s) No.
                                                              ------------------- after denial of guilty.
    Accordingly, the court has adjudicated that the defendant is guilty of the following allegation(s):

    Allegation Number                 Nature of Violation
                1                     nv 1, Committed a federal, state, or local offense




         Supervised Release is revoked and the defendant is sentenced as provided in page 2 through 2 of this judgment.
    The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
            IT IS ORDERED that the defendant shall notifY the United States attorney for this district within 30 days of any
    change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
    judgment are fully paid. If ordered to pay restitution, the defendant shall notifY the court and United States attorney of any
    material change in the defendant's economic circumstances.

                                                                         July IS. 2016
                                                                         Date ofimposition of Sentenc




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                                  JUL 1 5 2016

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                       BY                       DEPUTY
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            Case 3:12-cr-00236-JO         Document 1993         Filed 07/15/16       PageID.17843         Page 2 of
                                                               2
•   AO 245B (CASD Rev. 08113) Judgment in a Criminal Case for Revocations

    DEFENDANT:                  GUSTAVO ALFREDO BARRON (23)                                            Judgment - Page 2 of 2
    CASE NUMBER:                12CR0236-H

                                                      IMPRISONMENT
     The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
     10 MONTHS AS FOLLOWS:
     5 MONTHS TO RUN CONSECUTIVE TO S.D. CAL. CASE 16CR0356-H.
     5 MONTHS TO RUN CONCURRENT WITH S.D. CAL. CASE 16CR0356-H.




     D       Sentence imposed pursuant to Title 8 USC Section 1326(b).
     [:gj    The court makes the following recommendations to the Bureau of Prisons:
             The Court recommends placement at FCI Tenninal Island.




     D       The defendant is remanded to the custody of the United States Marshal.

     D       The defendant shall surrender to the United States Marshal for this district:
             D    at _ _ _ _ _ _ _ _ A.M.                          on
             D    as notified by the United States Marshal.

             The defendant shall surrender for service of sentence at the institution designated by the Bureau of
     D
             Prisons:
             D    on or before
             D    as notified by the United States Marshal.
             D    as notified by the Probation or Pretrial Services Office.

                                                            RETURN
     I have executed this judgment as follows:

             Defendant delivered on   _________________________ to

     at _______________________ , with a certified copy of this judgment.


                                                                        UNITED STATES MARSHAL



                                          By                    DEPUTY UNITED STATES MARSHAL




                                                                                                               l2CR0236-H
